Case 2:10-md-02179-CJB-DPC Document 5088 Filed 01/03/12 Page 1of2

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January 3, 2011
BY EMAIL

The Honorable Carl J. Barbier
United States District Judge
Eastern District of Louisiana
500 Poydras Street, Room C256
New Orleans, Louisiana 70130

Re: — In re Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico,
on April 20, 2010, MDL. No. 2179 (E.D.La., Barbier, J.)

Dear Judge Barbier:

I represent the Gulf Coast Claims Facility (the “GCCF”). I write respectfully to notify
the Court regarding the steps the GCCF is taking to comply with the hold-back requirements set
forth in the Order and Reasons entered in the above-referenced litigation on December 28, 2011
(the “Order”) as the GCCF understands these requirements.

Upon receiving a copy of the Court’s Order, the GCCF promptly began taking steps to
ensure its compliance with the hold-back requirements. Effective December 30, 2011, the GCCF
has temporarily frozen all payments to claimants and the issuance of any payment determination
letters. This was necessary both because the GCCF must take various administrative steps to
implement the Order’s requirements in order to begin withholding amounts from payments and
because the GCCF seeks to confirm its interpretation of the Order with the Court prior to
beginning the process of instituting the hold-back requirements. The GCCF will today update its
website to provide notice of the freeze and will also post the Order on its website, along with a
notice that explains why, going forward, six percent of the prospective payments made by the
GCCF will be withheld from claimants’ payments.

In compliance with the Court’s order, the GCCF intends to make the following changes
to its payment processing:

e The GCCF will withhold six percent from all prospective payments made to
claimants following the lifting of the freeze. These amounts will be deposited
into a court-supervised escrow account.

¢ The six percent hold-back will be applied to all prospective payments made to all

claimants who were not issued a payment determination letter as of December 29,
2011.

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Case 2:10-md-02179-CJB-DPC Document 5088 _ Filed 01/03/12 Page 2 of 2
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e The GCCF regularly withholds payments pursuant to liens and writs of
garnishment, primarily relating to the payment of court-ordered child support
obligations. The GCCF will satisfy such liens and garnishments prior to
application of the six percent deduction.

The GCCF respectfully requests confirmation from the Court that its interpretation is
consistent with the Court’s Order as well as clarification of any obligation the GCCF may have
regarding the retroactive application of the Court’s order to those payments already made to
claimants on or after November 7, 2011.

Very Truly Yours,

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as VS VU

David B. Pitofsky

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